           Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 1 of 9 PageID 287
A 0 24jB (Rev 12103) Sheet 1 - Judgment in a Criminal Case


                                  UNITED STA TES DISTRICT COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION

UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIhlINtiL CASE
                                                                      CASE NUMBER:               8:05-cr-70-T-23hlAP
                                                                      USM NUMBER:                48055-018
\'S.
                                                                      Defendant's Attorney: Daniel J. Fcmandsz, re[

RAFAEL. FRANCISCO PACHECO, JR.

THE DEFENDANT:

X pleaded guilty to cou~itsone through six, and counts twelve through thirty-two.
TITLE 6r SECTION                      NATURE O F OFFENSE                                                  OFFENSE ENDED           COUNT

18 U.S.C. S 371                       Conspiracy to Commit Bribery of a Public Official                   June 18.2001            1

IS U.S.C. $8 301(b)(2)(A) (B)         Public Official Receiving and Accepting Bribes in Return            November 27, 2000   2-6
;lid (C)                              for Being Influenced in die Performance of his Official
                                      Duties

18 U.S.C.    1512(b)(3)               Knowingly Engaging in Misleading Conduct Toward                     December 4, 2000
                                      Xnodler Person, with h e Intent to Hider, Delay, or
                                      Prevent Communication to a Law Enforcement Officer
                                      of the United States Regarding the Commission of a
                                      Federal Offense

IS U.S.C. S lYSG(h)                   Conspiracy to Commit Money Laundering                               June 18, 2001

IS U.S.C. $ l!IjG(a)(l)(B)(i) and 2   Money Laundering                                                    November 30,2000

18 U.S.C. 8 1030(a)(2)(B)             U~~lawfullyAccessing Restricted Federal Computer                    June 13,2001
                                      Databases for Financial Gain and in Furtherance of
                                      Other Criminal Aca

18 U.S.C. SS 1503(a), l503(b)(3);     Obstruction of Justice                                              hiay 25. 2004
and 18 U.S.C. Q: 2

I8 U.S.C. g 1001(a)(Z)                False Statements                                                    October 3. 2003

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is ilnposed pursuant to the
Scntcncing Refornl Act of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district wilhin 30 days of any change
of name, residence, or mailing address until all fines, restitution. costs, and special assessments imposed by this judgment are full}
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in cconomic
circumstances.

                                                                                            Datc of Imposition of Sentence: March 28, 2006
                                                                                                      I


                                                                                                                              I

                                                                                                STEVEN D. hfERRYDAY                       I
                                                                                            UNITED STATES DISTRICT JUDGE

                                                                                            DATE: March           RCr:,006
        Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 2 of 9 PageID 288
A 0 245B (Rev 12/03) Sheer 2 - Imprisonment
Defendant:          RAFAEL FRANCISCO PACHECO, JR.                                                           Judgment - Page -2- of 6
Case No. :          8:05-cr-70-T-23h.lAP




                  The defendant is hereby committed to the custody of the Ur~itedStates Bureau of Prisons to be
imprisoned for a total term of EIGIITY-SEVEN (87) MONTHS as to counts two through sis, twelve, thirteen througli
tv.enty-three, and thirty; atitl SIXTY (60) MONTHS as to counts one, t~vcnty-fourthrough twenty-nine, thirty-one and
thirty-t\vo; all such terms to run concurrently.




2Thc court makes the following reconlnlendations to the Bureau of Prisons: that the defendant be placed in FPC Pensacola,
Florida



X l'l~rdefendant is remanded to the custody of the United States Marshal.
- Thc dcfendanr sllall surrender lo the United States hlarshal for this dizuict.

          - 31 - a.m.1p.m. on -.
          - as notified by the United States Marshal.
- Thc defendant sllall surrender for service of sentence a1 the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States hfarshal.
          - as notified by the Probation or Prerrial Services Office.


                                                                     RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to

aI                                                                        , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                        By:
                                                                                         Deputy Marshal
       Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 3 of 9 PageID 289
A0 7433 (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:        FWFAEL FRANCISCO PACI-IECO, JR.                                                            Judgment - Page 3of 6
Case No. :        8:05-cr-70-T-23MAP

                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 'I7ITRTI'-SIX (36) JIOIVTHS
as to counts one through six, and counts twelve through thirty-tno; all such terms to r u n concurrently.

         The defendant shall report to the probation office in the district to which the defendant is released \vithin 72 hours of release
iron1 rhe custody of the Bureau of Prisons.

         While on supervised release. the defendant shall not commit anorher federal, state, or local crime, and shall nor possess a
iirraml. ammunition, or destructive device as defined in 18 U.S.C. 5 921.

S
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlatvful use of a
         controlled substance. Based on the probation oflicer's determination that additional drug urinalysis is nccessary, rhr Court
         authorizes random drug testing not to exceed 101 tests per year.

 S       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment inlposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
         the Scliedule of Payments sheet of this judgment.

         The defendant shall comply with the slandard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.

                                          STANDARD COhJDITIONS OF SUPERVISION
1)       the defendant shall not leave the judicial district without the permission of the court or probation officcr:
2        the dcfcndant shall report to the probation officer and shall submit a truthful and complete \vittcn rcport within thc first fivi days
         of each month:

3)       the defendant shall anslyer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
4        the defendant shall support his or hcr dependents and meet other family responsibilitics:

5)       the defendant shall work regularly at a lawfill occupation, unless excused by thc probation officer for schooling, training, or other
         acceptable reasons;

6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7        the defendant shall refrain from cxccssive use of alcohol and shall not purchasc, posscss. use. distribute, or administer any
         controlled substance or any paraphcnialia rclated to any controlled substances, except as prcscribed by a physician:
8        the defendant shall not frequent places wherc controlled substances are illegally sold, used. distributed, or administered;

9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unlcss granted permission to do so by the probation officer:

10)      the defendant shall permit a probation officer to visit him or her at any time at liomc or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer:

1 1)     the defendant shall notify the probation officer within seventy-two hours of being arrested or qucstioncd by a law enforcement
         ofticer:

I )      the defendant shall not enter into any agreement to act as an informer or a special agent of a law cnforccmcnt agcncy without the
         permission of the court:
.,
I )      as dircctcd by the probation officer, thc dcfcndant sliail notifythird parties ofrisks that may bc occasioned by the defendanr's c ~ i m ~ n a l
         record or pcrsonal history or characteristics and shall permit the probation officer to makc such notifications and to confirm the
         defendant's compliance with such notification requirement.
       Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 4 of 9 PageID 290
A 0 21jB (Rev. 12103) Sheet 3C - Supervised Release

Dclkndant :       RAFAEL FRANCISCO PAC1 IECO, JR.                                                       Judgment - Page 4 of 6
Case No.:         8:05-cr-70-T-23MAP
                                        SPECIAL CONDITIONS OF SUPERVISION

         Tile defendant shall also conlply wirh the following additional conditions of supervised release:


-
S        The defendant shall be prohibited fro111 incurring new credit charges, opening additional lines of credit, acquisitions or
         obligating himself for any major purchases without approval of the probation offjcer.
S
-        The defendant shall provide the probation officer access to any requested financial inforn~ation.

-
X        The defendant shall cooperate with the Internal Revenue Service as to the filing of any lax returns due, and regarding all
         outstanding taxes, interest, and penaltics relating to the offense of conviction.
       Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 5 of 9 PageID 291
A 0 21SB (Rev 12/03) Sheet 5   - Criminal hIonetary Penalties
Defendant:         RAFAEL FRANCISCO PACNECO, JR.                                            Judgment - Page 5 of 6
Case No.:          8:05-cr-70-T-23MAP

                                            CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of paynlents on Sheet 6.
                           Assessment                            -
                                                                 Fine                       Total Restitution

         Totals:           $2700.00                              $ waived                   $


-        The determination of restitution is deferred until -.                                 in a Crit~lirlalCase ( A 0 215C) will
                                                                         An Amazded Jlrrlg~~zetlt
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount lisccd
         bclo\v.
         If the defendant makcs a partial payment, each payee shall receive an approxinlately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. $
                                                                        d
         3664(i). all non-federal victims rnust be paid before the nited States.
                                                                                                             l'rioritg Ordcr or
                                                  *Total                       Amount of                     Percentage of
Name of Payee                                   Amount of Loss              Hestitutioll Ordered             Payment




                           Totals:              $L.                      S

 -        Restitution amount ordered pursuant to plea agreement      S
 -        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and deJt' ault, pursuant to 18 U.S.C. $ 3612(g).
 -        The courr determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - f i e        - restitution.

         -         the interest requirement for the - frne       - restitution is nlodified as follows:

* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
coirunitted on or after September 13, 1994. but before April 23. 1896.
        Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 6 of 9 PageID 292
A 0 245B (Rev 12103) Sheet 6 - Scliedulr of Payments

Defendant:         RAFAEL FRANCISCO PACIIECO, JR.                                         Judgment - Page 6of 6
Case No.:          8:05-cr-70-T-23MAP


                                                   SCEIEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total crimillal monetary penallies are due as folloivs:

-4.      X         Lump sun1 payment of $ 2700.00 due immediately, balance due
                             -not later than                  . or

                             -in accordance - C.               D, - E or - F below: or
B.       -         Payment to begin im~nediately(may be combined with -C, -D, or -F below); or
C.       -         Payment in equal                 (e.g., weekly. monthly, quarterly) installments of S             over a
                   period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                       weekly, monthly. quarterly) installments of S             over a
                   period of             , (e.g., mon
                                                   (e.%,s or years) to comnlence                 (e.g. 30 or 60 days) after
                   release from imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will commence within                           (2.g., 30 or
                   60 days) after release fro111 imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
F.       -         Special iristructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
          penalties is due during im risonment. All criminal monetary penalties, except                             made through the
Federal
llloneta%                                F
          ureau of Prisons' Inmate inancia1 Responsibility Program. are made to the
Tlie defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-         The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
          Pursuant to the Forfeiture Money Judgment (Doc. 65), entered on January 24. 2005, attached.

Payments shall be applied in thc followi~lgorder: (1) assessment. (2) restitution principal. (3) restitution intcres[, (4) t~neprincipal,
( 5 ) conmunity restitution, (6) 11ncintcrcst (7) penalties, and (8) costs, including cost of prosecution and court cosls.
Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 7 of 9 PageID 293
       Case 8:05-cr-00070-SDM-MAP         Document 65       Filed 01/24/2006      Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.                                                 Case No. 8:05-cr-70-T-23MAP

  RAFAEL FRANCISCO PACHECO, JR., :

          Defendant.


                              FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the court upon the filing of the Motion of the United

   States of America for a Forfeiture Money Judgment, which, at sentencing, shall be a

   final judgment of forfeiture as t o defendant Rafael Francisco Pacheco, Jr.'s

   interest in property subject t o forfeiture.

          The court, being fully advised in the premises, hereby finds that the government

   has established that the amount of proceeds from the conspiracy to commit bribery of a

   public official contrary to 18 U.S.C. 5 201(b), in violation of 18 U.S.C. Ej 371 ; being a

   public official, corruptly demanding, seeking, receiving, and accepting bribes in return

   for being influenced in the performance of his official duties in violation of 18 U.S.C.

   §§ 201(b)(2)(A), (B) and (C); knowingly engaging in misleading conduct toward another

   person with intent to hinder, delay or prevent the communication of information to a law

   enforcement officer of the United States regarding the commission of a possible federal

   offense in violation of 18 U.S.C. 5 1512(b)(3); conspiracy to commit money laundering

   in violation of 18 U.S.C. 5 1956(h); money laundering in violation of 18 U.S.C. 5

   1956(a)(l )(B)(i); unlawfully accessing restricted federal computer databases for
Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 8 of 9 PageID 294
      Case 8:05-cr-00070-SDM-MAP           Document 65      Filed 01/24/2006      Page 2 of 3




   financial gain and in furtherance of other criminal acts, including bribery, in violation of

   18 U.S.C. 3 1030(a)(2)(B); and obstruction of justice in violation of 18 U.S.C. § 1503(a),

   to which the defendant pled guilty, was at least $17,400.00 in United States currency.

          Accordingly, it is hereby ORDERED, ADJUDGED and DECREED that the Motion

   of the United States is GRANTED.

          It is further ORDERED that defendant Rafael Francisco Pacheco, Jr. is

   personally liable for a forfeiture money judgment in the amount of $17,400.00 in United

   States currency, pursuant to the provisions of 18 U.S.C. 3 981(a)(l)(C) and 28 U.S.C. §

   2461(c), 18 U.S.C. $5 982(a)(1) and (a)(2)(B), and Fed. R. Crim. P. Rule 32.2(b)(1).

          IT IS FURTHER ORDERED that the United States may seek forfeiture of any of

   the defendant's property up to the value of the $17,400.00 money judgment as

   substitute assets in satisfaction of this judgment, pursuant to the provisions of 21 U.S.C.

   5 853(p), incorporated by 28 U.S.C. 3 2461(c).
          The court shall retain jurisdiction to enter any orders necessary for the forfeiture

   and disposition of any substitute assets, and to entertain any third party claims that may
Case 8:05-cr-00070-SDM-MAP Document 107 Filed 03/30/06 Page 9 of 9 PageID 295

      Case 8:05-cr-00070-SDM-MAP        Document 65   Filed 01/24/2006   Page 3 of 3




    be asserted in those proceedings.

          DDNE and ORDERED in Chambers in Tampa, Florida, this
                                                                    24 c day of



                                                STEVEN D. MERRYDAY
                                                UNITED STATES DISTRICT JUDGE

    Copies to:
    Adelaide G. Few, AUSA
    Attorneys of Record
